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Lon A. Jenkins (4060)
Tami Gadd (12517)
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                                UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF UTAH

IN RE:                                                CASE NO: 23-25897
Corbin William Archer
Lisa Ann-Collet Archer                                Chapter 13

                      Debtors                         Hon. PEGGY HUNT


                                  TRUSTEE'S MOTION TO DISMISS

       The Standing Chapter 13 Trustee in this case, recommends that the above referenced case be
dismissed for the Debtors' failure to comply with the following statutory requirements, Federal Rule of
Bankruptcy Procedure, and/or Local Rules:




       1. The Debtors failed to tender the initial plan payment at the 341 Meeting as required by § 1326(a)
(1) and Local Rule 2083-1(a).


       2. The Debtors failed to appear at the 341 Meeting as required by § 343 and Local Rule 2003-1(a).



              THEREFORE, based on the foregoing, the Trustee moves the Court for the entry of an Order
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dismissing this case under 11 U.S.C. § 1307. If an objection is not filed by February 22, 2024 and served upon

the Trustee, the clerk must enter an order dismissing the case. Unless the Court orders otherwise, any

objection to the Trustee’s Motion to Dismiss will be heard at the confirmation hearing. No additional notice is

required for such hearing.

Dated: 1/29/2024                                                      LAJ /S/
                                                                      LON A. JENKINS
                                                                      CHAPTER 13 TRUSTEE


                                             CERTIFICATE OF MAILING

       The undersigned hereby certifies that true and correct copy of the foregoing Trustee's Motion to Dismiss
   was served upon all persons entitled to receive notice in this case via ECF Notification or by U.S. Mail to the
   following parties on January 29, 2024:

     Corbin William Archer & Lisa Ann-Collet Archer , 3861 E Evelyn Dr., Salt Lake City, UT 84124



     SARAH J. LARSEN, ECF Notification

                                                             /s/ Chelsea Anderson




  Trustee's Motion to Dismiss
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